
1 So.3d 365 (2009)
Anthony CURT, Appellant,
v.
The STATE of Florida, Appellee.
No. 3D07-2475.
District Court of Appeal of Florida, Third District.
January 28, 2009.
Carlos J. Martinez, Public Defender, and Robert Godfrey, Assistant Public Defender, for appellant.
Bill McCollum, Attorney General, and Rolando A. Soler, Assistant Attorney General, for appellee.
Before SUAREZ, CORTIÑAS, and SALTER, JJ.
PER CURIAM.
Affirmed. See State v. Mitchel, 768 So.2d 1223 (Fla. 3d DCA 2000).
